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12-31299 Francesco Perfetti
Case type: bk Chapter: 7 Asset: No Vol: v Honorable Judge: Eugene R. Wedoff
Date filed: 08/07/2012 Date of last filing: 12/05/2013
Date terminated: 12/06/2012
History
Doc. +e
No. Dates Description
1 |Filed& — peiaingn @ Voluntary Petition (Chapter 7)
Entered:
2 |Filed & ‘@ Declaration Re: Electronic Filing of Petition and Accompanying
08/07/2012
Entered: Documents.
3. [Filed & 08/07/2012 @ Chapter 7 Statement of Current Monthly Income and Means Test
Entered: Calculation - Form 22A.
4 \Filed & 08/07/2012 @ Statement About Social Security Numbers
Entered:
5 |Filed & 08/07/2012 @ Certificate of Credit Counseling
Entered:
6 |Filed&  geigg 012 @ Auto Docket of Credit Card
Entered:
7 \Filed & 08/07/2012 @ Meeting (Chapter 7)
Entered:
. Nor.
8& (Filed & 08/08/2012|" Notice of Chapter 7 Bankruptcy Case
Entered:
9 |Filed: 08/08/2012|« BNC Certificate of Notice - Meeting of Creditors
Entered: 08/10/2012
10 |Filed & 08/26/2012 @ Request for Service of Notices
Entered:
11 |Filed & 10/05/2012 @ Chapter 7 Trustee's Report of No Distribution
Entered:
12 |Filed & 11/05/2012 @ Notice of Required Document(s) for Discharge - Auto
Entered:
13 | Filed: 11/05/2012|@ BNC Certificate of Notice - Notice of Required Document(s) for
Entered: 11/07/2012 |Discharge
14 (Filed & 12/06/2012 ‘2 Case Closed Without Discharge
Entered:
15 (Filed: 12/06/2012 |}\% BNC Certificate of Notice - Notice of Chapter 7 Case Closed Without
Entered: 12/08/2012) Discharge
16 Filed & 12/05/2013 Certification About a Financial Management Course
Entered. EXHIBIT

 

 

 

 

 

 

 

 

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